   Case: 1:17-cv-07241 Document #: 186 Filed: 12/06/24 Page 1 of 3 PageID #:1063


                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 William Carter,                                      )
                                                      )
                          Plaintiffs,                 )
                                                      )      Case No. 17 C 7241
                   v.                                 )
                                                      )      Judge LaShonda A. Hunt
 City of Chicago, Ronald Watts, Phillip Cline,        )
 Debra Kirby, Darryl Edwards, Alvin Jones,            )
 Kallatt Mohammed, John Rodriguez, Calvin             )
 Ridgell, Jr., Elsworth J. Smith, Jr., Gerome         )
 Summers, Jr., and Kenneth Young, Jr.                 )
                                                      )
                          Defendants.                 )

                                    STIPULATION TO DISMISS

       IT IS HEREBY STIPULATED AND AGREED by and between the parties hereto, Plaintiff

William Carter, and Defendants Philip Cline and Debra Kirby, by their respective attorneys of record,

that the claims against Philip Cline and Debra Kirby in the above-captioned matter should be

dismissed with prejudice, and with each party bearing their own costs and attorneys’ fees.

       The parties agree that these dismissals do not have any effect on the claims against any other

Defendants.

December 6, 2024                                 Respectfully submitted,

 Plaintiff, William Carter                                Defendants, Philip Cline and Debra Kirby

 By: s/ Joel A, Flaxman                                   By: s/ Paul A. Michalik

 Joel A. Flaxman                                          Terrence M. Burns
 Law Offices of Kenneth N. Flaxman P.C.                   Daniel M. Noland
 200 S Michigan Ave, Ste 201                              Paul A. Michalik
 Chicago, IL 60604                                        Burns Noland LLP
                                                          311 S. Wacker Dr., Suite 5200
                                                          Chicago, Illinois 60606
  Case: 1:17-cv-07241 Document #: 186 Filed: 12/06/24 Page 2 of 3 PageID #:1064



By: s/ Eric S. Palles                            By: s/ Brian P. Gainer

Eric S. Palles                                   Brian P. Gainer
Sean M. Sullivan                                 Monica Gutowski
Mohan Groble Scolaro, P.C.                       Lisa McElroy
55 W. Monroe St., Suite 1600                     Johnson & Bell
Chicago, IL 60603                                33 W. Monroe St., Suite 2700
                                                 Chicago, IL 60603
Attorney for Defendant Kallatt Mohammed
                                                 Attorney for Defendant Ronald Watts

By: s/ William E. Bazarek                        By: s/ Timothy P. Scahill

Andrew M. Hale                                   Steven B. Borkan
William E. Bazarek                               Timothy P. Scahill
Anthony Zecchin                                  Drew Wycoff
Kelly M. Olivier                                 Borkan & Scahill, Ltd.
Hale & Monico LLC                                20 South Clark St., Suite 1700
53 W. Jackson Blvd., Suite 334                   Chicago, Illinois 60603
Chicago, IL 60604
                                                 Attorney for Defendant Calvin Ridgell
Attorney for Defendants Darryl Edwards, Alvin
Jones, John Rodriguez, Elsworth J. Smith, Jr.,
Gerome Summers, Jr., and Kenneth Young, Jr.
   Case: 1:17-cv-07241 Document #: 186 Filed: 12/06/24 Page 3 of 3 PageID #:1065



                                CERTIFICATE OF SERVICE

       I hereby certify that on December 6, 2024, I electronically filed the foregoing Stipulation to

Dismiss with the Clerk of the Court using the ECF system, which sent electronic notification of the

filing on the same day to all counsel of record via the Court’s CM/ECF system.



                                                   s/ Paul A. Michalik
